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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



     FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                         Case No. 1:20-cv-03590-JEB
               v.

     META PLATFORMS, INC.,

                    Defendant.


                                 JOINT PRETRIAL STATEMENT

        Pursuant to Local Rule 16.5, the Court’s December 20, 2024 Order (ECF No. 390), and

the Court’s ruling during the March 7, 2025 Status Conference, the Federal Trade Commission

(“FTC”) and Defendant Meta Platforms, Inc. (“Meta”) jointly submit this Pretrial Statement.

I.      STATEMENT OF THE CASE

        A.     FTC’s Statement 1   0F




               1.        Nature of the Case

        Plaintiff, the Federal Trade Commission (“FTC”), brings this case pursuant to Section

13(b) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b), for a permanent

injunction and equitable relief against Defendant Meta Platforms, Inc. to remedy and prevent its

anticompetitive conduct and unfair methods of competition in or affecting commerce in violation

of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a). The FTC asserts that Meta has had monopoly

power in the United States in the personal social networking (“PSN”) services market since at




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         Plaintiff will provide a more detailed description of its case in its pretrial brief, which
will be submitted pursuant to the Court’s December 20, 2024 Order, ECF 390, on April 7, 2025.

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least 2011 and that it has unlawfully maintained this monopoly power through anticompetitive

conduct consisting of anticompetitive acquisitions. The FTC asserts that Meta’s anticompetitive

conduct constitutes an unlawful monopolization in violation of Section 2 of the Sherman Act, 15

U.S.C. § 2, and is thus an unfair method of competition in violation of Section 5(a) of the FTC

Act, 15 U.S.C. § 45(a).

               2.      Identities of the Parties

       Plaintiff FTC is an administrative agency of the United States government, established,

organized, and existing pursuant to the FTC Act, 15 U.S.C. §§ 41 et seq., with its principal

offices in the District of Columbia. The Commission is vested with authority and responsibility

for enforcing, among other things, Section 5 of the FTC Act, 15 U.S.C. § 45, and is authorized

under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to initiate court proceedings to enjoin

violations of any law the FTC enforces and to seek equitable remedies.

       Defendant Meta Platforms, Inc. is a publicly traded, for-profit company, currently

incorporated in Delaware with its principal place of business at One Meta Way, Menlo Park, CA

94025. Meta’s principal businesses are technologies that facilitate digital interactions and

communications.

               3.      Basis of the Court’s Jurisdiction

       The Court has subject matter jurisdiction over this action pursuant to Sections 5(a) and

13(b) of the FTC Act, 15 U.S.C. §§ 45(a) and 53(b), and 28 U.S.C. §§ 1331, 1137(a), and 1345.

Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to issue a permanent

injunction against violations of the FTC Act and, in the exercise of its equitable jurisdiction, to

order equitable relief to remedy the injury caused by Meta’s anticompetitive conduct. Meta does

not contest that this Court has personal jurisdiction over Meta. Answer, ECF 94 ¶ 13.



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       B.      Meta’s Statement

       The FTC brings this case under Section 13(b) of the FTC Act, alleging that Meta is

violating Section 5(a) of that Act. Specifically, the FTC claims that Meta is violating Section 2

of the Sherman Act by maintaining a monopoly of an alleged relevant market for “personal

social networking,” by virtue of its acquisitions of Instagram (in 2012) and WhatsApp (in 2014).

Meta disputes that it possesses monopoly power and disputes that the acquisitions at issue were

exclusionary conduct. The FTC asserts that jurisdiction arises under Section 13(b) of the FTC

Act. That provision allows the FTC to pursue injunctive relief in federal court where a defendant

“is violating, or is about to violate, any provision of law enforced by the Federal Trade

Commission.” 15 U.S.C. § 53(b) (emphasis added). Meta contests the FTC’s authority to

proceed with this case under Section 13(b).

II.    STATEMENT OF PLAINTIFF’S CLAIMS

       A.      FTC’s Statement

       Meta has violated Section 2 of the Sherman Act, 15 U.S.C. § 2, and thus Section 5(a) of

the FTC Act, 15 U.S.C. § 45(a). Since at least 2011, Meta has had monopoly power in the

United States in the PSN services market. Meta has willfully maintained its monopoly power

through a course of anticompetitive conduct consisting of the anticompetitive acquisitions of

Instagram in 2012 and WhatsApp in 2014.

       Dating back to at least 2011, Meta has had a dominant share, exceeding 60 percent, of the

PSN services market in the United States. PSN services are online services that enable and are

used by people to maintain personal relationships and share experiences with friends, family, and

other personal connections in a shared social space. The PSN services market in the United

States is protected by significant entry barriers. Direct evidence, including sustained high profits



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and inelastic demand, further establishes that Meta has monopoly power over consumers of PSN

services in the United States.

       Through its conduct, Meta has excluded competition and willfully maintained its

monopoly in PSN services through means other than competing on the merits. Indeed, Meta

maintained its monopoly power through exclusionary conduct “as distinguished from growth or

development as a consequence of a superior product, business acumen, or historic accident.”

United States v. Microsoft Corp., 253 F.3d at 34, 58 (D.C. Cir. 2001) (quoting United States v.

Grinnell Corp., 384 U.S. 563, 571 (1966)). Meta acquired Instagram and WhatsApp, rather than

competing on the merits, and thereby harmed the competitive process, stifled competition,

maintained and bolstered barriers to entry, and thereby harmed consumers. Meta’s

anticompetitive conduct constitutes unlawful monopolization in violation of Section 2 of the

Sherman Act, 15 U.S.C. § 2.

       Meta’s asserted defenses fail to redeem its conduct. In particular, Meta’s proffered

procompetitive justifications fail because (1) they are not legally cognizable; (2) they are

pretextual; (3) they do not relate to purported benefits for PSN services in the United States; and

(4) they are not merger-specific, i.e., Meta cannot show that Instagram and WhatsApp could not

have achieved purported procompetitive benefits without the acquisition or that Meta could not

have achieved the same benefits without acquiring Instagram and WhatsApp.

       B.      Meta’s Statement

        The parties agree this section is not applicable to Meta. Meta does not agree

with or stipulate to the contents of the FTC’s legally and factually incorrect statement.

III.   STATEMENT OF DEFENSES

       A.      FTC’s Statement

       The parties agree this section is not applicable to the FTC.

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       B.      Meta’s Statement

       Meta respectfully refers the Court for a full statement of its defenses to its prior

pleadings, including the Answer (see ECF No. 94), its Motions to Dismiss the Complaint (see

ECF No. 56) and the Amended Complaint (see ECF No. 83), and its Motion for Summary

Judgment (see ECF No. 324) as well is its forthcoming Pretrial Brief (see ECF No. 390). Meta

restates and reaffirms all such defenses.

       In summary, and without waiving any defense, Meta respectfully submits that the FTC

cannot prove either required element of its Section 2 monopolization claim. Meta disputes the

FTC’s claim of jurisdiction under the FTC Act, because there is no evidence that Meta is

violating or about to violate Section 2 of the Sherman Act.

       The FTC cannot prove that Meta possesses a monopoly. The FTC has no direct evidence

that Meta has the power to raise prices above the competitive level or reduce output or quality

below a competitive level. The direct evidence proves that Meta has no such power; ergo, it is

not a monopolist. The “indirect” evidence will likewise fail to establish a rebuttable presumption

of power because, when the substitute services offered by obvious competitors such as TikTok,

YouTube, and iMessage are included in any market share calculation, Meta lacks a market share

even close to one that could rise to the minimum level for suggestion of monopoly power.

Including even one of those competitors in any such calculation drives Meta’s share below the

minimum threshold for such a presumption.

       The FTC also cannot prove that Meta maintained a monopoly by acquiring – and

improving – applications that were two small, complementary apps at the time of the

acquisitions. Neither the Instagram nor the WhatsApp acquisition was anticompetitive. Meta

acquired both with the intent to make those apps better for U.S. consumers as standalone services

alongside Facebook, and that was the effect of the transactions. Effect is what matters; intent is

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relevant only to the extent that it bears on likely effect. Here, such predictions are unnecessary

as the effects of the acquisitions over more than a decade are known. Comparable acquisitions

have never been condemned under Section 2 of the Sherman Act, let alone via retroactive

challenge a decade after the fact. The acquisitions achieved massive and indisputable

efficiencies and procompetitive benefits since 2012 and 2014, and the FTC cannot establish that

the same or a greater level of efficiencies and benefits would have been achieved at all or as

quickly without the acquisitions.

       With the exception of the single affirmative defense the Court carved out at summary

judgment, Meta maintains all of its affirmative defenses and, to the extent such defenses require

proof, Meta will present evidence in support of them at trial.

IV.    SCHEDULE OF WITNESSES

       A.      FTC’s Statement

       The FTC’s Witness List pursuant to Local Rule 16.5(b)(5) is attached as Attachment A.

Plaintiff also submits as Attachment A-1 a summary of salient information, provided for ease of

reference.

       B.      Meta’s Statement

       Attached as Ex. 1 is Meta’s schedule of witnesses.

V.     LIST OF EXHIBITS

       A.      FTC’s Statement

       The FTC’s Exhibit List is attached as Attachment B. To the extent Meta has objected to

the exhibits identified by the FTC, those objections are reflected in Attachment B. In addition,

the FTC reserves the right to introduce any exhibits listed by Meta and to supplement or amend

its list as needed to address new matters offered by Meta or as permitted by the Court. The

FTC’s inclusion of an exhibit on its Exhibit List is not an admission that the exhibit would be

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admissible if offered by Meta, and the FTC reserves the right to object to any exhibit or portion

of an exhibit, even if it appears on the FTC’s Exhibit list. With regard to its objections to the

exhibits identified on Meta’s Exhibit List, the FTC reserves the right to amend its objections to

Meta’s Exhibit List including withdrawing objections and supplementing objections based on

Meta’s use of these exhibits at trial or in post-trial briefing.

        The FTC objects to Meta’s reservation of rights allowing it to swap out exhibits,

including exchanging one document for another that contains a different Bates numbers or is in a

different format than what was identified on Meta’s Exhibit List, as this would allow Meta to

circumvent the exhibit list cap they themselves requested and also could be used to swap in a

version of a document that is different than what was produced to the FTC and that the FTC has

been relying on.

        The exhibits identified are exclusive of documents that may be used for purposes of

impeachment, Rule 1006 exhibits, and illustrative aids. Exhibits being offered for pre-admission

are identified in the “Meta’s Objections” column by an indication that Meta has no objections

and agrees to pre-admit those exhibits. Pursuant to Local Rule 16.5(b)(6), the FTC’s exhibit list

also identifies those exhibits it “expects to offer.” As described below, the parties anticipate a

process for disclosing exhibits close in time to each witness examination. The FTC’s assessment

of which exhibits it “expects to offer” will thus naturally be refined in the course of that exhibit

disclosure process.

        B.      Meta’s Statement

        Attached as Ex. 2 is Meta’s Exhibit List and the FTC’s objections to the exhibits on

Meta’s Exhibit List. Meta’s trial exhibits will be identified with DX numbers, starting at

DX0001. Pursuant to Local Rule 16.5(b)(6), Meta has placed an asterisk by the exhibit number

for exhibits that it expects to offer, with the remainder being exhibits that Meta may offer if the

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need arises. Meta has made these designations in good faith. However, because of the number

of witnesses and exhibits the FTC has disclosed for its multiple-week Case-in-Chief, Meta lacks

certainty regarding the exhibits that it will offer versus those that it may offer. Further, Meta has

bolded the exhibit numbers for exhibits that Meta and the FTC agree may be pre-admitted at the

start of or during trial should Meta decide to do so.

       Meta reserves its rights to introduce exhibits on the FTC’s exhibit list; to withdraw any

listed exhibits, in whole or in part, at any time; to supplement, amend, or edit its Exhibit List as

needed to address new matter offered by the FTC or permitted by the Court; and to supplement,

amend, or edit its objections to the FTC’s Exhibit List, including its right to object to particular

uses of exhibits by the FTC at trial or in post-trial briefing. Meta’s inclusion of an exhibit on its

Exhibit List is not an admission that the exhibit is admissible if offered by the FTC, and Meta

reserves the right to object to any exhibit or portion of any exhibit, even if it appears on Meta’s

Exhibit List. Meta further reserves the right to use a different copy of the same document at trial

if, for example, the document has been assigned a different Bates number or deposition exhibit

number, or if the document is in a different electronic or native format than the version identified

on Meta’s Exhibit List.

VI.    DEPOSITION DESIGNATIONS

       A.      FTC’s Statement

       The FTC’s Deposition Designations for use at trial are attached as Attachment C. The

parties have agreed to a schedule for the exchange of counter and completeness designations and

objections; the schedule contemplates finalizing these trial deposition designations by the final

Pretrial Conference. See Local Rule 16.5(b)(7). The FTC reserves the right to modify its

deposition designations or add additional deposition designations for use at trial.



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        B.      Meta’s Statement

        Attached as Ex. 3 are Meta’s opening deposition designations for the witnesses on Meta’s

schedule of witnesses that Meta currently intends to call by video. Meta is providing these

deposition designations in PDF files, but the parties have also exchanged .csv files pursuant to a

prior agreement between the parties. The parties have agreed to a schedule, which contemplates

counter and completeness designations and objections, to finalize these deposition designations

by the final Pretrial Conference. See Local Rule 16.5(b)(7). Meta reserves the right to amend its

witness list and the right to modify its deposition designations or add additional deposition

designations for use at trial.

VII.    ITEMIZATION OF DAMAGES

        The parties agree that this section for “an itemization of damages the party seeks to

recover” is not applicable to this case. Local Rules 16.5(b)(1)(vii), (b)(8).

VIII. OTHER RELIEF

        A.      FTC’s Statement

        The FTC requests that the Court enter final judgment against Meta, declaring, ordering,

and adjudging that Meta’s course of conduct violates Section 2 of the Sherman Act and thus

constitutes an unfair method of competition in violation of Section 5(a) of the FTC Act, 15

U.S.C. § 45(a). Pursuant to the Court’s March 3, 2022 Order regarding Bifurcation (ECF No.

103 ¶ 8), the FTC will identify its additional requested relief during a separate proceeding

regarding remedies for Meta’s legal violations.

        B.      Meta’s Statement

        Meta seeks judgment in its favor and dismissal of this action with prejudice.




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IX.    ADDITIONAL ISSUES

       A.      Trial Exhibit Disclosures

               1.      Meta’s Position

       Meta proposes that during trial, the presenting party should disclose each exhibit it

anticipates introducing in evidence at least four days before seeking to offer such exhibit or using

the exhibit in the examination of a witness. This rule would not apply to exhibits used solely for

impeachment. The Court previously ordered the parties to continue meeting and conferring

about trial exhibit disclosures. See Order ¶ 5 (Feb. 21, 2025), ECF No. 401. The parties agree

that if a party intends to use an exhibit during its direct examination of a witness (not including

impeachment documents), the exhibit should be disclosed in advance of the examination. See

Ltr. from D. Matheson (Nov. 15, 2024) at 5, ECF No. 411-1 (proposing “disclosure of exhibits

used during direct examination”). But the parties have been unable to reach an agreement on the

timing of such disclosures, with the FTC proposing only two days of advance notice for exhibits

it seeks to offer in evidence.

       Exhibit disclosures four days in advance will be productive and help make trial more

efficient. Such disclosures will give the parties time to meet and confer about any confidentiality

issues and exhibit objections and prepare appropriately redacted versions of exhibits so that they

may be used in open court – which will help avoid frequent closure of the courtroom. Meta

requests a four-day disclosure rule to ensure this process will work smoothly. The FTC has

asked Meta to prepare the public redacted versions of the Meta-produced documents that the

FTC intends to use as trial exhibits, so that the FTC does not have to apply any agreed redactions

to these exhibits for itself. But to accomplish this, Meta needs enough notice of the FTC’s

anticipated trial exhibits to ensure it has applied redactions correctly to the exhibits the FTC

anticipates using, and has provided redacted versions to the FTC with enough time for the FTC

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to review and print them before the relevant trial day. Truncating the exhibit disclosure schedule

to two days will unnecessarily time-crunch the parties and disproportionately burden Meta.

       Such disclosures will also ensure that the parties can notify the Court, after meeting and

conferring, sufficiently in advance about any potentially “lengthy objections” to exhibits that

“should take place before or after [a] witness testifies.” Order ¶ 3 (Feb. 10, 2025), ECF No. 398.

This will allow the parties and the Court to plan accordingly and avoid wasting chess clock time.

All the exhibits to be offered in evidence have been or will be disclosed, such that there is no

tactical reason to prevent witnesses from being made aware of the likely subjects of examination.

And some of the documents are lengthy, such that advance disclosure will ensure that the

witnesses are familiar with the documents so that scarce Court time will not be wasted as

witnesses familiarize themselves on the witness stand with documents they have not had the

chance to review before testifying.

       The FTC is wrong that Meta’s proposal will generate inefficiency by requiring the parties

to raise exhibit and illustrative aid disputes at different times. Nothing in Meta’s proposal

precludes the parties from presenting exhibit and illustrative aid disputes to the Court at the same

time, where appropriate. Rather, Meta’s proposal ensures the parties will have enough time to

discuss any exhibit disputes, so that they can most efficiently present them to the Court, if

needed. And the FTC’s claim that it will not know, four days ahead of time, which exhibits it

anticipates using, is not credible. The FTC has been preparing for trial for years.

       For all these reasons, Meta requests that the Court order that the presenting party should

disclose each exhibit it anticipates introducing in evidence at least four days before using the

exhibit.




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               2.      FTC’s Position

       Exhibit Disclosures for Witness Exams. In response to Meta’s proposal regarding the

timing of exhibit disclosures, the FTC offers this counter-proposal: A party that intends to use an

exhibit during direct examination of a witness must use best efforts to disclose that exhibit by

noon ET two calendar days before the relevant witness will testify. The receiving party shall

have until noon the following calendar day to state any objections. If the receiving party offers

objections, the parties must meet and confer by 8 pm on the calendar day before an exhibit is to

be used.

       The FTC’s proposal offers all the same benefits as those described by Meta; it will give

the parties sufficient time to meet and confer about confidentiality issues and exhibit objections,

and it will allow the parties to notify the Court each morning to the extent any “lengthy

objections” are anticipated during that day’s testimony. Further, given the Court’s recent

directives on a confidentiality protocol, the FTC expects that most confidentiality issues will be

resolved and redactions applied in advance of trial, and thus will require little additional time as

part of this proposed exhibit disclosure process.

       Last, the FTC’s proposal offers efficiencies over Meta’s. First, the parties have already

agreed that illustrative aids must be disclosed on this exact same schedule; i.e., that they be

disclosed by noon ET two calendar days before the relevant witness will testify, and with the

identical cadence for making and resolving objections. Disclosing exhibits on the same schedule

will allow the parties and the Court to simultaneously resolve confidentiality issues and exhibit

objections relating to the same witness on the same timeline. By contrast, Meta’s proposal

would address disputes regarding exhibits relating to a witness at one time, and disputes

regarding illustrative aids two days later. Second, disclosing exhibits unnecessarily far in

advance of a witness’s examination is likely to result in overbroad disclosure and thus generate

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unnecessary work, because the parties will have to review documents that will never actually be

introduced, and the Court may have to resolve unnecessary disputes over documents that will

never actually be introduced. Disclosing exhibits two days rather than four days before an

examination increases the parties’ ability to refine their examination outlines and thus limit their

exhibit disclosures to only those documents most likely to be introduced. A narrower, more

realistic set of exhibit disclosures will save the parties and the Court time.

       Meta’s position in its statement that early exhibit disclosure will “ensure that the

witnesses are familiar with documents” undermines the goal of advance exhibit disclosure. Early

disclosure—which is not required by the federal rules—permits the parties to resolve

confidentiality and other disputes regarding the exhibits in advance. Its purpose is not, as

suggested by Meta, to facilitate witness testimony preparation tailored to the opposing party’s

exhibits. Moreover, as Meta notes, all exhibits offered in evidence have been disclosed already,

and as such, there is no reason for Meta to obtain notice of a narrower set of exhibits, 4 days in

advance of witness testimony, for the purpose of preparing its witnesses.

       B.      Testimony of Meta’s Corporate Representative

               1.      Meta’s Position

       Meta intends to call its corporate representative – Alex Schultz (Meta, Chief Marketing

Officer & Vice President, Analytics) – in the Defense Case. In the FTC’s witness list, the FTC

has stated its intention to call Mr. Schultz in the FTC’s Case-in-Chief. Although the parties

agreed that “a fact witness . . . should not be re-called absent a finding of good cause by the

Court,” Jt. Status Rpt. at 45 (Dec. 5, 2024), ECF No. 387, that was “for the convenience of the

witnesses,” Jt. Status Rpt. at 33 (Feb. 17, 2025), ECF No. 399. Accordingly, Meta proposes to

make Mr. Schultz available for examination in the FTC’s case, if the FTC in fact calls him, and

then conduct a “cross examination” of Mr. Schultz limited to the scope of the testimony the FTC

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elicits. Because Mr. Schultz will be at the trial, Meta will then call him for direct examination in

the Defense Case, at which point the FTC will have an opportunity to cross-examine him

(limited to the scope of that testimony).

       It is typical and permissible for a defendant to call its corporate representative to testify in

its Defense Case – see Transcript of Proceedings before Judge James E. Boasberg held on Sept.

29, 2014, Ayissi-Etoh v. Fannie Mae, No. 1:10-cv-01259, ECF No. 125, at 3-4 (D.D.C. Jan. 14,

2015) (the Court: “All right. That’s permissible . . . .); see also Ayissi, ECF No. 111, at 13

(corporate representative called in defense case, not the case in chief) – and, indeed, the ability to

call that witness in the Defense Case is an important component of presenting the corporate

representative. It is also necessary in this instance for the effective presentation of the Defense

Case, which otherwise may be limited because of the FTC’s stated intention to call many or most

of the Meta senior executive witnesses in its case; that suffices as good cause here for this

reasonable proposal. There is no convenience-based reason to prevent Meta from presenting its

defense in the manner it deems most effective in this respect. The FTC identifies no prejudice

from Meta’s proposal, which will allow the FTC to examine Mr. Schultz twice, as well. The

FTC’s suggestion that unidentified witnesses might also, hypothetically, not be inconvenienced

by attending trial twice is no reason to obstruct Meta from calling its corporate representative in

its Defense Case. The FTC has stated its objection to Mr. Schultz testifying in the Defense Case

but invokes no authority or sound reason for its objection.

               2.      FTC’s Position

       Meta’s Chief Marketing Officer. Meta informed the FTC on March 10 that it intends to

call Alex Schultz, Meta’s Chief Marketing Officer, for a second time in Meta’s case, even

though he is listed as a witness that the FTC “will call” live in its case-in-chief. The FTC

opposes this request because, as Meta acknowledges, the parties agreed and informed this Court

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on December 5, 2024 “that fact witnesses should not be called more than once, and that a fact

witness thus should not be re-called absent a finding of good cause by the Court.” JSR at 45,

Dec. 5, 2025, ECF 387. The plain language of the parties’ agreement forecloses Meta’s request

to call Mr. Schultz for a second time after Mr. Schultz is called during the FTC’s case-in-

chief. Meta has not established “good cause” for Mr. Schultz to testify twice simply by

informing the FTC that it would designate Alex Schultz as its corporate representative for

trial. While it may be true that Mr. Schultz would not suffer inconvenience from being called

twice, that may equally be true of many other witnesses, whether they are Meta witnesses or

third-party witnesses. The circumstance that a witness is willing to testify twice does not

establish the “good cause” that is required by the plain language of the parties’ agreement.

       C.      The FTC’s 1006 Witnesses

               1.      Meta’s Position

       Meta objects to the inclusion by the FTC of two witnesses not previously disclosed in

either party’s Rule 26 disclosures, during discovery, or on its preliminary trial witness list.

Specifically, the FTC has now disclosed that it “may call” two FTC employees to testify about

the “Admissibility of Rule 1006 Exhibit[s].” Such exhibits have not been disclosed, but Meta

objects to undisclosed witnesses giving expert or other testimony which they are unqualified to

give. Because the FTC has not disclosed what these exhibits are, or how the employees are

competent to give testimony, Meta reserves all rights to object to the testimony as well as to the

undisclosed Rule 1006 exhibits the FTC says they will sponsor.

               2.      FTC’s Position

       FTC’s Rule 1006 Sponsoring Witnesses. Meta objects to the FTC’s identification of two

witnesses who may be called to testify about the preparation of summaries to prove the content

of voluminous writings that cannot be conveniently examined in court. See Fed. R. Evid. 1006.

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The FTC plans to disclose Rule 1006 exhibits on March 17 as the Court ordered. Order, ECF

No. 394. These summary exhibits can and should be admitted without need for live testimony—

the underlying voluminous materials are either Meta’s own or were produced to Meta in this

litigation, and the FTC will be disclosing declarations prepared by each potential witness

describing how they prepared these summary exhibits. That said, the FTC identified these two

individuals as potential witnesses in the event that Meta will not stipulate to the admissibility of

the FTC’s Rule 1006 exhibits, and instead requests an opportunity to cross-examine either

witness about how they compiled these summary exhibits.

       First, Meta complains that these two witnesses were only disclosed for the first time this

week. But the FTC disclosed these potential witnesses before the Final Witness List was due

and before Rule 1006 exhibits were due for disclosure. Moreover, Local Rule 16.5(b)(5)

prohibits objections “to a witness” simply because they were “disclosed for the first time in a

party’s Pretrial Statement,” unless the information has been wrongly withheld. Not so here.

Second, Meta objects that these potential witnesses may provide improper expert testimony.

They will not. The FTC’s Rule 1006 exhibits will summarize voluminous materials, not offer

expert opinion. The accompanying declarations—and the potential witnesses providing them—

will likewise offer no opinions.

       Regardless, Meta’s complaints are improperly addressed in this pretrial statement. The

FTC will share its Rule 1006 exhibits and accompanying declarations on March 17. Meta can

then object by March 27, if it chooses, according to the Court’s ordered schedule. Order, ECF

No. 394. Any unresolved disputes can be briefed and resolved at a later date, once the exhibits

have actually been disclosed.




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       D.      Use of Deposition Testimony When Witnesses Are Testifying Live

               1.      Meta’s Position

       The FTC has stated that it will or may call four nonparty witnesses by deposition in its

case that Meta “will call” live at trial: employees from TikTok, Snap, and YouTube. Meta

believes that the parties should conduct these examinations live, rather than split them between

deposition in the FTC’s case and live testimony in Meta’s case. The witnesses are all “available”

under the Federal Rules of Civil Procedure, as they have been subpoenaed to testify and have not

obtained an order from the Court relieving them of the obligation to appear. Therefore, there is

no evidentiary basis that would allow the FTC to admit the depositions of these nonparties into

evidence. See Gonzalez Berrios v. Mennonite Gen. Hosp., Inc., 2020 WL 502333, at *3 (D.P.R.

Jan. 30, 2020) (“Likewise, ‘[i]f a nonparty witness is available to testify, the deposition cannot

be used in lieu of live testimony (although it is available to impeach).’”); Feinwachs v. Minn,

Hosp. Assn., 2019 WL 4298085, at *10 (D. Minn. Sept. 11, 2019) (explaining that Rule 32

provided no basis “permit the use of [the nonparty’s] deposition testimony in lieu of live

testimony” when the witness could testify live); G. Hall v. Jaeho Jung, 819 F.3d 378, 384 (7th

Cir. 2016) (affirming exclusion of deposition of nonparty when the “district court even offered to

allow [the proponent] to have [the nonparty] testify at a later point in the trial if [the nonparty]

appeared.”); E. J. Corp. v. Uranium Aire, Inc., 311 F.2d 749, 755 (9th Cir. 1962) (“We see no

reason why the pre-trial deposition of a witness should be admissible when the witness is himself

present.”).

       Conducting the exams once, and live, will also be more probative and more efficient.

These witnesses are being called to testify about the current competitive landscape, which is the

relevant issue. See, e.g., ECF No. 413-9 (Meta MIL Opp. Ex.) at 8 (Declaration of Blake

Chandlee, TikTok Inc. v. Garland, No. 24-1113 (D.C. Cir. Dec. 9, 2024)) (recent sworn

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statement explaining in the event of a ban of TikTok, it “would not be able to recover all the

creators and users lost while TikTok was unavailable, because people who would have continued

or started to use TikTok will have already turned to other competing platforms, such as

Instagram, Facebook, or YouTube.”). The live testimony can address current conditions; the

depositions, taken years ago, cannot. If both video and live testimony is permitted, there will

also undoubtedly be repetition and wasted time, to no useful end. Witnesses who are available to

give testimony in person should testify in person, and not after a video session is used in the

FTC’s case.

        Although the Court previously noted that it would not rule out the possibility of playing

video in one party’s case (with designations and counter-designations), and calling the witness

live in the other party’s case, it did not state that it adopted that rule as to nonparties, where it

would be error for the plaintiff to introduce the hearsay deposition testimony of non-adverse and

available witnesses into evidence. Additionally, the Court specifically indicated it would

“revisit” the issue of video designations in lieu of live testimony generally after seeing the

parties’ witness lists. Dec. 9, 2024 Hr’g Tr. at 15:5-10.

        The FTC also lists eight party and nonparty witnesses that the FTC indicates it “will call”

or “may call” by deposition that are on Meta’s witness list as “may call” live witnesses. As to

these eight witnesses, Meta proposes that the FTC provide notice two weeks in advance of

seeking to introduce the testimony via deposition, at which point Meta will inform the FTC if it

has determined whether it intends to call the witness live. If Meta indicates that it will call the

witness live, the witness should be called live by the parties, and no deposition video should be

played (or read into the record). If Meta indicates that it does not know if it will call the witness

live, Meta proposes that the FTC be permitted to call the witness by deposition and Meta’s



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counter-designations will be included, and Meta may still elect to call the witness live in its case

if it so chooses. This approach will allow the parties to present their case in an efficient and

effective manner in accordance with the Federal Rules of Evidence and this Court’s expressed

preference for live testimony. See Dec. 9, 2024 Hr’g Tr. at 3:19-24.

       The FTC’s arguments against Meta’s sensible proposal are unavailing. First, the FTC

argues that the Court has discretion to accept deposition testimony. But the Court does not have

discretion to accept hearsay deposition testimony from non-party witnesses who will testify live

at trial, and the FTC does not cite any case to the contrary. Second, the FTC argues that

imposing a sensible procedure in advance “awards Meta too much control over the FTC’s case”

since it could impact the “sequencing of the FTC’s trial presentation.” But the sensible and

efficient use of trial time is hardly unfair, and rings especially hollow coming from the FTC

given that the vast majority of Meta’s defense case is being presented in the FTC’s case as a

result of the FTC’s tactical choice to proceed by calling most of the Meta witnesses in its case.

Third, the FTC argues that the Court should allow this deviation because the designated

testimony accounts for a small amount of trial time. That’s far from accurate. The FTC has

designated testimony from sixteen witnesses after previously representing to the Court it only

intended to designate testimony from three witnesses (and it did not tell Meta otherwise until it

was ordered to submit this joint statement). Almost half of all the nonparties on the FTC’s

witness list are designated to testify by video. Three of the four nonparty witnesses that the FTC

designated and that are on Meta’s Will Call list for live testimony were not even on the FTC’s

preliminary witness list. Fourth, contrary to the FTC’s characterization, Meta did not add five

“may call” witnesses to its list for “tactical reasons.” It added may call witnesses (three of whom

are Meta witnesses) because it had to preserve its ability to address the undisclosed testimony



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from the litany of new witnesses the FTC added at the last minute, after refusing Meta’s repeated

requests for an earlier exchange of the witness lists and draft designations. For that precise

reason, under Meta’s proposed approach, Meta will inform the FTC well in advance of any

testimony from those witnesses if it determines it need not call them live.

       The FTC’s proposal is inefficient and prejudicial to Meta. By design, the FTC wants to

selectively dump soundbites into the record in its case, cause Meta to burn chess clock time on

counter-designations, and then get a second bite at the apple with the witness in Meta’s case

where the parties will inevitably retread the same ground. The Court should not allow this, and it

should adopt Meta’s sensible proposal. The FTC will suffer no prejudice from adoption of

Meta’s proposal. If, for some reason, a party that the FTC wants to designate for use at trial and

Meta wants to call live cannot appear live, the parties can easily designate the testimony, and the

FTC has already prepared those designations.

               2.      FTC’s Position

       Meta’s Request to Reverse the Court’s Prior Instruction That the FTC May Present

Video Deposition Testimony During Its Case-in-Chief If Meta Claims It Will Later Call a

Witness Live. The FTC opposes Meta’s request to revisit the Court’s unambiguous ruling that

the Court would permit the FTC to present video deposition testimony even if Meta later calls

the same witness live. See Hr.’g Tr. 15:20-25, Dec. 9, 2024, ECF 388 (“[y]ou are going to be

able to see each other’s lists, and if you think, wait a minute, we want that person live, fine, but I

am not going to prevent them from, depending on the numbers, having it video.”); id. at 16:21-25

(“You [the FTC] can call the person. You [the FTC] can play the video. And then they [Meta]

can have their testimony of the witness live. I will permit that. The fact that they are going to

call a witness doesn’t preclude you . . . from using the depo video.”). In a bench trial, the Court

has broad discretion to accept deposition testimony. See, Scheduling & Case Mgmt. Order at 8-

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9, United States v. Google LLC, No. 1:20-cv-03010-APM (D.D.C. Dec. 21, 2020), ECF No. 85

(where a person is listed on the party’s witness list, the party may “call a person to testify as a

live witness at trial or designate a person’s deposition for introduction at trial . . . .”). The Court

has provided the circumstances in which it will accept deposition testimony and need not upset

that instruction now.

        Meta now asks the Court to change its previous ruling, which would empower Meta to

veto the FTC’s decisions to present a witness’s deposition testimony during its case in chief if

Meta represents that it wants to call a witness live at some later date. Specifically, Meta asks the

Court to order: (1) that the FTC may not present deposition testimony by video in the FTC’s case

in chief if Meta’s witness list identifies a “will call” witness as “live”; and (2) that the FTC must

disclose (two weeks in advance) whether it will use deposition testimony for a given witness and

then permit Meta to decide whether Meta will call the witness live and bar the FTC from using

any video for the witness based on Meta’s decision. The Court should reject both requests.

        First, the Court has already rejected Meta’s position, and Meta has not established good

cause for the Court to revisit its unambiguous prior instructions. See Hr.’g Tr. 15:20-25, 16:21-

25, Dec. 9, 2024, ECF 388. Second, the FTC relied on the Court’s prior decision when

scheduling witnesses, developing its trial plan, and when designating the testimony submitted in

Exhibit E. Upsetting that reliance now would prejudice the FTC’s trial presentation and waste

that preparation at Meta’s discretion. The FTC has limited its designations to less than 7% of its

overall trial time, and of these times only an estimated 4.4 hours of deposition testimony are

currently marked as will call with 1.5 hours as may call. This limited set reflects the many

factors at play in setting a trial plan including the efficient use of the court’s trial time, the




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availability of witnesses on given trial dates, and the sequencing of the FTC’s trial presentation

including the FTC’s desire to present its prima facie case in the most efficient fashion.

         Permitting Meta to decide how and when the FTC is allowed to present evidence

inappropriately allows Meta to dictate both the timing and the form in which the testimony

appears. That awards Meta too much control over the FTC’s case – indeed, it appears that

Meta’s purpose in asking the Court to revisit its prior ruling is to control the FTC’s presentation

for tactical reasons, as it added five entirely new witnesses to its “may call” list on March 12, as

soon as Meta learned that the FTC identified these as witnesses that the FTC “may call” via

video.

         By contrast, permitting both parties the flexibility to decide how they will present their

evidence does not prejudice Meta. Meta will now have in hand – a month before trial – the

FTC’s final witness list and the FTC’s opening designations. If Meta believes it needs certain

testimony, it is free to counter-designate appropriate testimony or to draw on its witness list and

call a witness live during Meta’s case, as the Court has previously instructed.

         The FTC respectfully requests the Court reject Meta’s proposals.

         E.     The FTC’s Proposed Additional Briefing

                1.      FTC’s Position

         Admission of Untimely Data, Documents, and Expert Reports. Meta recently produced

over six new sets of data to the FTC on February 20, 2025 and February 28, 2025, respectively.

Subsequently, Meta produced a new supplemental expert report for Dr. Carlton on March 6,

2025 which relies on its recently produced data. Meta also has served seven trial subpoenas

requesting documents from TikTok, Google, and Snap witnesses. While, to date, Meta has yet to

identify any document produced in response to these subpoenas on its exhibit list, it has

represented that it intends to rely on these late-produced data and documents. It is the FTC’s

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position that the Federal Rules of Civil Procedure preclude introduction of this evidence at trial.

Moreover, this evidence is also inadmissible under Federal Rules of Evidence 401, 402, and 403.

As such, the FTC intends to move to exclude this evidence. Meta has confirmed in its position

statement that it “does not oppose briefing if it would be useful to the Court.” Accordingly, the

FTC proposes the following briefing schedule in advance of the pretrial conference: no later than

March 14, the FTC may file its Opening Brief of no more than 25 pages; and no later than March

20, Meta may file an Opposition Brief of no more than 25 pages. The FTC does not anticipate

filing a reply brief, but, if necessary, will file one of no more than 5 pages no later than 5 pm on

March 23.

               2.      Meta’s Position

       Meta’s Disclosures Regarding the TikTok Outage & Current Usage. The FTC has

conceded that, to maintain its action under Section 13(b) of the FTC Act, it must show that Meta

currently maintains a monopoly in the alleged market for “personal social networking services”;

for this reason, information about present market conditions is not merely relevant, it is essential.

Cf. MSJ Op. at 51 (Nov. 13, 2024), ECF No. 384 (“[T]ime and technological change pose

serious challenges to the market analysis.”). The FTC, in recognition of its burden to prove a

monopoly today, has listed numerous proposed exhibits that were created after discovery closed

and purportedly provide evidence about current conditions. See, e.g., PX00732 (March 2025

Meta website describing Feed AI); PX00778 (January 2025 Instagram post by Head of Instagram

Adam Mosseri describing the Reels tab); PX00736 (August 2024 Instagram post by Mr. Mosseri

describing some of Instagram’s use cases). And Meta and nonparty witnesses will necessarily,

when they testify, present the facts of competition today.

       In this context, Meta has voluntarily provided two discrete data productions to the FTC to

give the agency the opportunity to review and scrutinize high-level data related to current

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conditions before trial. This is evidence that will further support the existing, disclosed opinions

of Meta’s expert witnesses. The data is in a format familiar to the agency and its economists,

and it does two things. First, Meta has produced data associated with the overnight outage of

TikTok that occurred on January 18-19, 2025. This data was (of course) not previously

available, and was produced as quickly as possible. Meta has also disclosed tables and graphs

reflecting Professor Carlton’s analysis of this data – which shows that when TikTok was

unavailable, usage of Instagram (especially), Facebook, and YouTube surged; usage of Snapchat

increased but less dramatically. Second, Meta has updated certain tables from prior expert

reports related to the declining share of “friends-and-family” content on Facebook and

Instagram; Meta has also disclosed the updated tables reflecting that data.

       Production of this data and supplementation of Professor Carlton’s report – which is

limited to the tables and charts described above – are proper. Nothing in this Court’s orders

prohibits such supplementation, and Rule 26(e)(2) contemplates it. Where market conditions are

subject to rapid change – as they are here – a refresh of data puts the parties and the Court in the

best position to evaluate the import of recent developments. United States v. Microsoft Corp.,

253 F.3d 34, 49 (D.C. Cir. 2001) (“By the time a court can assess liability, firms, products, and

the marketplace are likely to have changed dramatically.”). Even in a case where the window

between the close of fact discovery and trial was shorter, the district court allowed such

supplementation. See FTC v. Kroger Co., No. 3:24-cv-00347-AN (D. Or. Aug. 16, 2024), ECF

No. 407 at 3 (permitting defendant to introduce evidence of post-discovery events relating to its

defenses in antitrust case).

       There is no prejudice to the FTC. Meta disclosed the underlying data weeks ago in a

form familiar to the FTC’s experts, giving the FTC ample opportunity to prepare any response



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before trial. Meta’s expert, Professor Carlton, disclosed on March 6, 2025, the specific analyses

of these data that he will provide at trial and the previously disclosed opinions they support. The

only harm to the FTC’s case is what the data show, and that is hardly a cognizable reason for the

Court to preclude the most probative evidence of current market conditions from trial.

       Meta does not believe any briefing relating to the use of this evidence is necessary – but

does not oppose briefing if it would be useful to the Court. Twenty-five pages per side is,

however, out of proportion to both the scope of this dispute and the page limits for other case

submissions. Meta proposes a ten-page limit per side (exclusive of exhibits and inclusive of any

reply briefing). Meta is amenable to the FTC’s proposed briefing schedule or any other schedule

the Court would find most helpful.

       TikTok, Google, and Snap Trial Subpoenas. On February 5, 2025, Meta served the FTC

with notices of nonparty trial subpoenas to certain current employees of Snap, YouTube, and

TikTok who appear on one or both of the parties’ witness lists. The trial subpoenas include

tailored requests for the witnesses to bring to Court documents in their possession relating

specifically to the January 2025 TikTok outage. See, e.g., Ex. 4 (subpoena to David Levenson

(Snap)). These witnesses observed substitution from their app (TikTok) or to their apps (Snap,

YouTube) in connection with the outage.

       Meta will ask these witnesses about their outage analyses, which are expected to be

materially inconsistent with the FTC’s allegation that YouTube and TikTok are not substitutes

for the Meta apps. In questioning these witnesses, Meta believes that it will be useful to both

parties and the Court to have access to the analyses those witnesses would be describing, as a

source for potential impeachment, or – if the Court deems appropriate at trial – as a potential

exhibit to be entered into evidence. This is a plainly appropriate use of a trial subpoena for



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documents. See, e.g., Alvarado v. Rainbow Inn, Inc., 2016 WL 10703674, at *1 (D.D.C. Feb. 5,

2016) (enforcing trial subpoena for documents).

        The FTC did not seek in limine to move on this issue, though it had the subpoenas well

before the deadline for such motions. It should not be allowed to file such motion now, out of

time. Meta does not believe any briefing on the trial subpoenas is necessary. To the extent the

Court believes briefing would be useful, Meta respectfully submits that the parties can address

the issue within the same ten-page brief concerning Meta’s disclosure of January 2025 outage

and current usage data.

        F.      Third Party Remote Attendance

        Several non-party witnesses have raised the prospect of testifying remotely. The parties

will attempt to either resolve or crystallize any disputes in accordance with the Court’s

instructions, prior to the final pretrial conference.




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Dated:   March 12, 2025          Respectfully submitted,
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